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                                                           8                                UNITED STATES BANKRUPTCY COURT

                                                           9                                 CENTRAL DISTRICT OF CALIFORNIA

                                                          10                                            SANTA DIVISION
                                                               In re                                               Case No. 8:16-bk-15157-CB
                                                          11
                                                               MT. YOHAI, LLC, a Delaware Limited Liability Chapter 7
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                          12   Company.
                                                          13                                                RAFT MASTERFUND II, LLC’S REPLY
                                LOS ANGELES, CALIFORNIA




                                                                                       Debtor.              TO OPPOSITION FILED BY BOWERY
                                   ATTORNEYS AT LAW




                                                          14                                                INVESTMENT GROUP, INC. TO MOTION
                                                                                                            FOR ORDER (1)AUTHORIZING SALE OF
                                                          15                                                REAL PROPERTY FREE AND CLEAR OF
                                                                                                            ALL LIENS, CLAIMS AND
                                                          16                                                ENCUMBRANCES

                                                          17                                                       [2521 Nottingham Avenue, Los Angeles, CA]

                                                          18                                                       DATE: December 11, 2018
                                                                                                                   TIME: 2:30 P.M.
                                                          19                                                       CTRM: 5D

                                                          20            RAFT Masterfund II, LLC (“RAFT”), hereby files this reply (the “Reply”) in support of the

                                                          21   Motion for Order (1) Authorizing Sale of Real Property Free and Clear of All Liens, Claims and

                                                          22   Encumbrances [Docket No. 257] (the “Motion”), and in response to Secured Creditor Bowery

                                                          23   Investment Group, Inc. dba Bowery Design & Development’s Memorandum of Points and

                                                          24   Authorities in Opposition to the Motion [Docket No. 262] (the “Bowery Opposition”). In support of

                                                          25   this Reply, RAFT states as follows:

                                                          26           1.       As acknowledged in the Motion, RAFT is the holder of an allowed first priority deed

                                                          27   of trust against the Property that secures a debt of approximately $1,116,439.38 as of the anticipated

                                                          28


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                                                           1   hearing date for this Motion of December 11, 2018 (plus interest accruing at the rate of $238.18 per

                                                           2   diem, and ongoing legal fees). See Motion at p. 2.

                                                           3           2.        This single asset real estate case is now two years old. The case has been in chapter 7

                                                           4   for nearly a year after being in chapter 11 before that for over one year. In the meantime, over those

                                                           5   two years, no progress has been made to repay creditors until the Motion at issue. The Debtor has

                                                           6   made no adequate protection payments for well over 18 months while interest, fees and costs

                                                           7   continue to accrue daily, further sinking the value of the Property below the amount of RAFT’s first

                                                           8   trust deed.

                                                           9           3.        Just as in the companion case of 779 Stradella, LLC (“Stradella”),1 this chapter 7 case

                                                          10   involves single asset real estate that lingered for years in a failed chapter 11, all the while accruing

                                                          11   interest and costs to the detriment of creditors. As with Stradella, the Trustee has been unable to
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                                                          12   identify a purchaser willing to offer enough for the Property to pay off the existing first trust deed

                                                          13   held by RAFT. Thus, as in Stradella, the Trustee has entered into a sale agreement with RAFT as
                                LOS ANGELES, CALIFORNIA
                                   ATTORNEYS AT LAW




                                                          14   the first lien holder which will result in (a) payment of all outstanding real property taxes in full, (b)

                                                          15   elimination of RAFT’s first trust deed via credit bid, and (c) payment of $100,000 in gross sale

                                                          16   proceeds to the estate. Once again, just as in Stradella, this deal represents a solution for the chapter

                                                          17   7 estate by liquidating its sole asset, providing some excess consideration for the estate, and allowing

                                                          18   the case to come to a conclusion.

                                                          19           4.        Bowery’s Opposition provides no justification whatsoever for why this sale should

                                                          20   not go forward. Rather, Bowery ignores the duty imposed by the Bankruptcy Code upon the Trustee

                                                          21   to maximize the value of estate assets for the benefit of creditors. Section 704(a) of the Bankruptcy

                                                          22   Code states that a “trustee shall collect and reduce to money the property of the estate for which such

                                                          23   trustee serves, and close such estate as expeditiously as is compatible with the best interest of parties

                                                          24

                                                          25       1
                                                                     As the Court will recall, Jeffrey Yohai was the principal behind both of these Debtors as well as two other related
                                                               single asset real estate debtors before this Court where RAFT is the first priority deed of trust holder (i.e. In re 1550 Blue
                                                          26   Jay Way, LLC and In re 2401 Nottingham LLC). Last month, Mr. Yohai, Paul Manafort's ex-son-in-law, was “charged
                                                               with another real estate scam in LA” while out on bond while awaiting sentencing for similar crimes, according to
                                                          27   federal prosecutors. See, e.g., https://www.nbcnews.com/politics/justice-department/paul-manafort-s-ex-son-law-yohai-
                                                               charged-another-real-n933526
                                                          28

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                                                           1   in interest.” Bowery offers no explanation for what this duty should be ignored in favor of a

                                                           2   haphazard denial of a routine auction followed by a sale. Instead, Bowery cries that the Property

                                                           3   might be worth more than the proposed sale consideration….while ignoring that the sale is subject

                                                           4   to overbid at auction. If Bowery is correct and a Qualified Bidder surfaces who will generate more

                                                           5   total cash consideration to the estate than RAFT’s current proposal, so be it. This is why RAFT

                                                           6   insisted – just as in the Stradella case – that the sale be subject to overbid at auction, the universally

                                                           7   accepted method for achieving maximum value. Make no mistake, RAFT is a reluctant purchaser

                                                           8   here and, as the first trust deed holder, would benefit most if Bowery’s imagined overbidder were

                                                           9   real.

                                                          10           5.       Finally Bowery’s opposition should be overruled because Bowery itself attempted

                                                          11   to purchase the Property while the case was pending in chapter 11. As the Court may recall and
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                                                          12   Docket No. 158 reflects, in November 2017, the Debtor filed its motion to sell the Property to

                                                          13   Bowery for an amount that would pay off RAFT (then known as Genesis) in full as the first trust
                                LOS ANGELES, CALIFORNIA
                                   ATTORNEYS AT LAW




                                                          14   deed holder. That sale ultimately did not close when Bowery was unable to come up with the

                                                          15   consideration necessary to close the sale. The point, of course, is that well over one year ago,

                                                          16   Bowery attempted to “cash out” the estate just as RAFT is doing here. It is extremely sanctimonious

                                                          17   for Bowery to be attempting to block this sale given that it sought the same outcome earlier in the

                                                          18   case. For reasons that are not given, Bowery as the holder of a contested junior lien, inexplicably

                                                          19   requests that the Court compel the Trustee to abandon the Property under section 554 of the

                                                          20   Bankruptcy Code. Bowery never explains how abandonment – which will lead to zero consideration

                                                          21   for the estate – will benefit creditors, including Bowery. All that would happen after abandonment is

                                                          22   that RAFT would foreclose on the Property in accordance with state law. Indeed, this is precisely

                                                          23   what happened in the companion case of 1550 Blue Jay Way, LLC. In that case, the case was

                                                          24   converted to chapter 7, the trustee (Karen Naylor) abandoned the property and the Court

                                                          25   subsequently granted RAFT relief from the stay to foreclose. Junior interests in that case received

                                                          26   nothing…and now in this case Bowery is a junior interest holder but is objecting to a sale where the

                                                          27   senior interest holder is going out of its way to provide additional monies to the estate, rather than

                                                          28   seeking to foreclose!


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                                                           1          6.        It is almost ludicrous that RAFT has to now defend a purchase of the Property now at

                                                           2   bar, where RAFT will have to pay $100,000.00 to the estate when it could very well take Bowery up

                                                           3   on its “offer” and simply foreclose after abandonment/relief from stay. It is incumbent upon Bowery

                                                           4   to explain how that could possibly be a desirable outcome for the estate or Bowery. Otherwise, this

                                                           5   auction should go forward, just as it did in Stradella.

                                                           6

                                                           7   Dated: December 4, 2018                       PACHULSKI STANG ZIEHL & JONES LLP

                                                           8
                                                                                                             By     /s/ Jeffrey W. Dulberg
                                                           9                                                        Jeffrey W. Dulberg

                                                          10                                                        Attorneys for RAFT Masterfund II, LLC

                                                          11
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                                LOS ANGELES, CALIFORNIA
                                   ATTORNEYS AT LAW




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                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Boulevard, 13th Floor, Los Angeles, California 90067

A true and correct copy of the foregoing document entitled (specify): RAFT MASTERFUND II, LLC’S REPLY TO
OPPOSITION FILED BY BOWERY INVESTMENT GROUP, INC. TO MOTION FOR ORDER (1) AUTHORIZING SALE
OF REAL PROPERTY FREE AND CLEAR OF ALL LIENS, CLAIMS AND ENCUMBRANCES will be served or was
served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
December 4, 2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) December 4, 2018, I served the following persons and/or entities at the last known addresses in this
bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United
States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that
mailing to the judge will be completed no later than 24 hours after the document is filed.


                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) December 4, 2018, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA Overnight Mail                                                          By Email:
The Honorable Catherine Bauer                                               Attorneys for Bowery Investment Group, Inc. dba Bowery
United States Bankruptcy Court                                              Design & Development
Central District of California                                              Scott A. Kron scott@kronandcard.com
Ronald Reagan Federal Building and Courthouse                               Richard A. Marshack RMarshack@marshackhays.com
411 West Fourth Street, Suite 5165                                          Chad V. Haes chaes@marshackhays.com
Santa Ana, CA 92701-4593



                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 December 4, 2018                       Myra Kulick                                           /s/ Myra Kulick
 Date                         Printed Name                                                    Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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